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IN THE UNITED STATES DISTRICT C()URT
SOUTHERN DISTRICT OF ILLINOIS

HELEN BURTON, )
)
Plaintiff, )

) ,,

VS_ ) No.rs=§=rts’ 335
)
)
BRIAN PUTNAM and HORSLEY TRANSPORT )
LLC, )
)
Defendants. )
NOTICE OF REMOVAL

 

NOW COl\/IE Defendant, BRIAN PUTNAl\/I and H()RSLEY TRANSPORT LLC (“Horsley”),
by their attorneys, ORLEANS CANTY NOVY, LLC, pursuant to Title 28 U.S.C. §§ 1332, 1441
and 1446, hereby file their Notice of Removal of the cause entitled Helen Burton v. Brian
Putnam and Horsley Trarzsport LLC, filed in the Circuit Court of St. Clair County, under case
number 2018 L 54. As their grounds for removal, Defendants state as folloWs:

1. That Plaintiff, HELEN BURTON (“Plaintiff”) commenced an action against the
above-referenced Defendants on or about January 3, 2018 by filing Plaintif`Fs Complaint in the
Circuit Court of St. Clair County, Illinois, under case number 2018 L 54. (See Summons and
Plaintifl"’ s Complaint attached hereto and made a part of this Notice as EXhibit A).

2. Plaintiff served said Summons and Complaint upon Defendant, Horsley, on
February 5, 2018.

3. 28 U.S.C. § 1332 provides that:

(a) The District Court shall have original jurisdiction of all civil
actions Where the matter in controversy exceeds the sum of

$75,000.00, exclusive of interest and costs, and is between

(1) citizens of different states;

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(2) citizens of a State and citizens or subjects of a foreign state . . .
4. Accordingly, this action is removable under 28 U.S.C. §1441, which provides:

(a) Except as otherwise expressly provided by Act of Congress, any
civil action brought in a State court of which the district courts of
the United States have original jurisdiction, may be removed by
the defendant or the defendants, to the district court of the United
States for the district and division embracing the place where such
action is pending For purposes of removal under this chapter, the
citizenship of defendants sued under fictitious names shall be
disregarded

5. Pursuant to 28 U.S.C. § 1446 this Notice of Removal is being brought within 30
days of service of Summons and Complaint, which was the initial notice of this lawsuit

6. The Illinois Traffic Crash Report states that at the time of the occurrence Plaintiff
resided at 1769 Veterans Memorial Pkwy, Saint Charles, Missouri 63303. (See the lllinois
Traffic Crash Report made in response to the subject incident attached hereto and made a part of
this Notice as Exhibit B).

7. As such, Plaintiff was a citizen of the State of l\/lissouri at the time of the alleged
incident that is the subject incident Upon information and belief, Plaintiff remains a citizen of
the State of Missouri.

8. Horsley is a Georgia limited liability company. (See Georgia Secretary of State
listing attached hereto and made a part of this Notice as Exhibit C). Horsley is a motor carrier in
the business of transporting cargo throughout the United States of America. Horsley’s sole
member is a citizen of the State of Georgia.

9. Specifically, Horsley has one member, Eric Horsley. Eric Horsley is a citizen of

the State of Georgia and his residence address is 2011 Taylors Gin Road, Temple, Georgia

30179. (See Affidavit of Eric Horsley, attached hereto as Exhibit D).

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10. Therefore, Horsley is a citizen of the State of Georgia.

ll. The lllinois Traffic Crash Report indicates that at the time of the occurrence
Defendant, Putnam, resided and is domiciled at 24631 Georgia Highway 100, Roopville, Georgia
30170. (Ex. C). Putnam currently resides and is domiciled at 28 Boulder Drive, Carrollton,
Georgia 30117.

12. Thus, Defendant Putnam is a citizen of the State of Georgia and not a citizen of
the State of Missouri.

13. Consequently, diversity of citizenship exists between Plaintiff and Defendants.

14. The State Court action is an action for civil damages by Plaintiff for personal
injuries. Plaintiff does not specify a dollar amount of damages in her Complaint. Rather,
Plaintiff’ s Complaint seeks damages in excess of the minimum jurisdiction limit of the court
($50,000.00), the Circuit Court of St. Clair County, lllinois. ln this regard, Plaintiff alleges that
as a result of the subject incident, she was injured in one or more of the following ways:

(a) The Plaintiff was made sick, sore, lame, disordered and
disabled and suffered extensive injuries to her head, body, and
limbs, both internally and externally;

(b) The Plaintiff received injuries to her neck;

(c) The Plaintiff received injuries to her backg

(d) The Plaintiff received injuries to her pelvic;

(e) The Plaintiff received injuries to her chest;

(f) The Plaintiff received injuries to the soft tissues of the cervical,
shoulder, and lumbar area, including the muscles, ligaments,
tendons, and nerves;

(g) The Plaintiff has expended money for necessary medical care,
treatment and services and will be required to expend money for
medical care, treatment and services in the future;

(h) The Plaintiff has suffered disability as a result of her injuries;
(i) The Plaintiff has experienced pain and suffering and will be
reasonably certain to experience pain and suffering in the future as
a result of her injuries; and

(j) The Plaintiff has lost money from the loss of wages and will
suffer an impairment of future earning capacity.

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(Ex. A). Therefore, although not specifically demand on the face of the complaint, Defendants
make a reasonable conclusion based on the allegations of the complaint, that the amount in
controversy exceeds 875,000, exclusive of interest and costs.

15. Therefore this matter is removable under 28 U.S.C. § 1332 because diversity of
citizenship exists between all parties and the amount in controversy exceeds $75,000.

16. Rernoval to the Southern District Court of lllinois is appropriate under 28 U.S.C.
§ 1441 as it is the District embracing the place where the action is currently pending

Wl‘iEREFORE, Defendants, BRIAN PUTNAM and HORSLEY TRANSP()RT LLC, tile
its Notice of Removal, removing the State Court action from the Circuit Court of St. Clair
County, lllinois, to the United States District Court for the Southern District of lllinois.

Defendants Demand Trial by Jury.
Respectfully submitted,

BRIAN PUTNAl\/l and HORSLEY TRANSPORT

LLC, Defendants.

By: s/ Jason Orleans
One of Their Attorneys

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